         Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 1 of 18



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Attorney for Plaintiff


                         IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO

                                            )
ASHLEY L. BERNARD                           )
                                            )   Case No.
                          Plaintiff         )
                                            )   _____________________
                           vs.              )
                                            )
PAUL STPHEN WHITE AND                       )   COMPLAINT AND DEMAND
MICHAEL J. LING dba                         )   FOR JURY TRIAL
BERKELEY, INC.                              )
                                            )
                          Defendants        )
                                            )
                                            )
                                            )
                                            )
___________________________________         )


                                        COMPLAINT

       Plaintiff, ASHLEY L. BERNARD (“Ms. Bernard”, “Ashley”), complains of Defendant

BERKELY INC. (“Berkeley” or Employer) as follows:


                                         I. PARTIES



COMPLAINT AND DEMAND FOR JURY TRIAL                                         Page 1 of 18
            Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 2 of 18



       1.       Ms. Bernard is a current employee of the Defendant in this matter. At all times

relevant, Ms. Bernard was a resident of Ada County, Idaho.

       2.       At all relevant times, Defendant Berkeley Inc. was an Idaho corporation whose

Organizational ID/Filing Number is C113174 which entity was incorporated on December 28,

1995. The address of Berkeley, Inc. is 3778 Plantation River Dr. Suite 102, Boise, ID 83703. The

registered agent for Berkeley Inc. is Mr. Michael J. Ling.

       3.       Defendants, Mr. Paul Stephen White and Mr. Michael J. Ling, are owners and

principals of Berkeley, Inc.

       4.       Defendants, Mr. Paul Stephen White, Mr. Michael J. Ling, and Berkeley, Inc. are

employers within the meaning of 29 U.S.C. § 203(d), Idaho Code § 44-1701(2) and Idaho Code

45-601(5) 1 and are engaged in commerce or in the production of goods for commerce within the

meaning of 29 U.S.C. § 203(s)(1), Fair Labor Standards Act of 1938.

                                            II. JURISDICTION

       5.       Pursuant to 29 U.S.C. 206(d), the Equal Pay Act of 1963, 29 U.S.C. §215(a)(3) of

the Fair Labor Standards Act, Title 44 Chapter 17 of the Idaho Code and the Idaho Wage Claim

Act, I.C.§ 45-615(1), Plaintiff brings this action in, and jurisdiction is proper in, the United

1
  29 U.S.C.A. § 203 (d) reads as follow: “Employer” includes any person acting directly or
indirectly in the interest of an employer in relation to an employee and includes a public agency,
but does not include any labor organization (other than when acting as an employer) or anyone
acting in the capacity of officer or agent of such labor organization;

 I.C § 44-1701(2) reads as follows: “Employer” includes any person acting directly or indirectly
in the interest of an employer in relation to an employee.; and

I.C. § 45-601(5) reads as follows: “Employer” means any individual, partnership, association,
joint stock company, trust, corporation, the administrator or executor of the estate of a deceased
individual, or the receiver, trustee, or successor of any of the same, employing any person.




COMPLAINT AND DEMAND FOR JURY TRIAL                                                      Page 2 of 18
            Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 3 of 18



States District Court for the District of Idaho per 28 U.S.C. §§ 1331, 1391(b)(1) and (b)2), and

28 U.S.C.§ 1367(a). There is no exhaustion of administrative remedy requirement for bringing

an action in federal court under the Equal Pay Act; Washington Cty. v. Gunther, 452 U.S. 161,

175, 101 S. Ct. 2242, 2250, 68 L. Ed. 2d 751 (1981) fn. 14 (1981). Additionally, there is no

exhaustion of administrative remedy requirement for bringing an action pursuant to Title 44

Chapter 17 of the Idaho Code et seq. specifically, I.C. Code § 44-1704(2) as well as I.C. § 45-

615 (1).

                               III. STATEMENT OF FACTS

      A. FAILURE OF DEFENDANTS TO COMPLY WITH THE EQUAL PAY ACT
         AND COMPENSATE FOR OVERTIME HOURS WORKED.

       6.       At all times relevant to this complaint, Plaintiff was a female employee of

Defendants.

       7.       Ms. Bernard began her employment with Berkeley Inc. on August 6, 2012.

       8.       That in an effort to advance in position and responsibility with her employer, Ms.

Bernard pursued and obtained her Registered Paraplanner certification in June of 2013.

       9.       That in a further effort to advance in position and responsibility with her

employer and with the financial support of her employer, Ms. Bernard pursued and obtained her

Masters of Science Degree in Family Financial Planning in 2017.

       10.      In 2017, Ms. Bernard obtained her license as a Certified Financial Planner (CFP).

       11.      That in 2004, Berkeley Inc. hired a male employee Mr. J Chris Hendrickson

(hereinafter Mr. Hendrickson) who in 2007 became a licensed Certified Financial Planner.

       12.      That Berkeley Inc. maintains the work and activities by contact of Mr.

Hendrickson and Ms. Bernard.




COMPLAINT AND DEMAND FOR JURY TRIAL                                                     Page 3 of 18
          Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 4 of 18



        13.     That the record shows that from at least 2015 to the present date, Ms. Bernard was

at a minimum employed in positions that were the same or substantially similar to that of Mr.

Hendrickson and the positions of Mr. Hendrickson and Ms. Bernard required skill, effort and

responsibility under similar working conditions. 2

        14.     That Berkeley Inc. did not establish and has not established written job

descriptions stating the general duties and responsibilities of its employees Mr. Hendrickson and

Ms. Bernard, nor delineating the essential functions of each employees’ position as it pertains to

Mr. Hendrickson and Ms. Bernard.

        15.     That in addition to being employed in a position that was the same or substantially

similar of Mr. Hendrickson which position required the same skill, effort and responsibility

under similar working conditions as Mr. Hendrickson, Ms. Bernard had additional

responsibilities.

        16.     That notwithstanding the fact Ms. Bernard was and continues performing in the

same capacity as Mr. Hendrickson and being responsible for additional duties, Defendant


2
  The Federal Rule of Civil Procedure (F.R.C.P.) 8(a) requires a short and plain statement of the
claim showing that the pleader is entitled to relief and a demand for the relief sought, which may
include relief in the alternative or different types of relief. In interpreting the language of
F.R.C.P. 8(a), the Supreme Court established the plausibility pleading standard. The plausibility
pleading standard does not require “detailed factual allegations,” but it does require more than
just “labels and conclusions” or “a formulaic recitation of the elements of a cause of action” to
sufficiently state a claim to defeat an F.R.C.P. 12(b)(6) motion. Ashcroft v. Iqbal, 556 U.S. 662,
678, 129 S. Ct. 1937 (2009); Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S. Ct. 1955, 167
L.Ed.2d 929 (2007); Papasan v. Allain, 478 U.S. 265, 286, 106 S. Ct. 2932, 92 L.Ed.2d 209
(1986). A claim must contain sufficient factual matter to “state a claim to relief that is plausible
on its face.” Atlantic Corp v. Twombly, 550 U.S. at 570, 127 S. Ct. 1955. “A claim has facial
plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct alleged.” Id. at 556, 127 S. Ct. 1955.
The detailed activity record for Mr. Hendrickson and Ms. Bernard are 733 and 2110 pages
respectively and establish the plausibility standard required. To include these documents as
exhibits to the complaint would be problematic as the Defendant’s would not be able to provide
an adequate Answer to the Complaint.

COMPLAINT AND DEMAND FOR JURY TRIAL                                                    Page 4 of 18
         Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 5 of 18



Berkeley Inc., paid Ms. Bernard less than it paid Mr. Hendrickson from at least 2015 to the

present date.

       17.      That on or about March 8, 2016 in a discussion between Mr. Paul Stephen White

and Mr. Michael J. Ling, Mr. Paul Stephen White stated that it was not his intention to increase

the compensation of Ms. Bernard to the equivalent of Mr. Hendrickson.

       18.      That during the month of February 2017, Mr. Michael J. Ling apologized to Ms.

Bernard for Mr. Paul Stephen White’s reluctance to fairly compensate Ms. Bernard equal to that

of Mr. Hendrickson given the value she adds to Berkeley Inc., its processes, its clients, and

ultimately the Firm’s (Berkeley Inc.) revenue.

       19.      On June 3, 2017, Mr. Michael J. Ling indicated he did not realize his Firm had

effectively decreased Ms. Bernard's wages in 2017 by changing the payout structure for Firm

profitability. Mr. Michael J. Ling indicated he would discuss this decrease with Mr. Paul

Stephen White and they would resolve the difference. Mr. Michael J. Ling also indicated he

would be notifying Mr. Paul Stephen White of his intention to increase Ms. Bernard's wages by

$2.00 per hour for obtaining her Masters of Science degree in Family Financial Planning as

another attempt to get her pay closer to equal to Mr. Hendrickson's to reflect at a minimum the

equality in their work not to mention his personal belief Ms. Bernard does far more to promote

the Firm’s growth, has significantly more responsibility, and work load and was worth far more

than what she was presently compensated.

       20.      At the time of the filing of the present complaint, notwithstanding an owner of

Berkeley Inc. commenting on Ms. Bernard’s value to the Defendant, Ms. Bernard’s

compensation is still not equal to that of Mr. Hendrickson.




COMPLAINT AND DEMAND FOR JURY TRIAL                                                   Page 5 of 18
          Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 6 of 18



         21.   That Berkeley Inc. has no established policies in regard to compensation and or

compensation structure. There is a total absence of a seniority system that addresses Berkeley

Inc.’s and employee’s compensation.

         22.   That Berkeley Inc. has no established policy reflecting that compensation is based

on the experience of the employee.

         23.   That Berkeley Inc. has no established policy that an employee’s compensation is

based on training, ability, shift differential, or the quality and quantity of earnings produced by

an employee.

         24.   Given the acknowledged value that Ms. Bernard has brought to the Berkeley Inc.

and her lack of equitable compensation, Ms. Bernard’s compensation cannot be said to be based

on merit. Additionally, Berkeley Inc. has no established policy that in any way states that an

employee’s compensation is merit based.

         25.   That Ms. Bernard typically works two (2) to four (4) hours of overtime per week

and did and has done so in 2016 and 2017.

         26.   That on or about September 25, 2017 in a conversation with Ms. Bernard, Mr.

Michael J. Ling reminded Ms. Bernard that he thought of her as Berkeley Inc.’s “succession

plan”.

         27.   During this same conversation of September 25, 2017, Mr. Michael J. Ling

informed Ms. Bernard that although he approved the time off she requested as he knew that Ms.

Bernard worked from home. However, Mr. Michael J. Ling specifically stated that “they” (i.e.

Berkeley Inc.) do not (i.e. will not) and have not ever compensated Ms. Bernard for the many

hours of overtime compensation that she was likely due.




COMPLAINT AND DEMAND FOR JURY TRIAL                                                     Page 6 of 18
         Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 7 of 18



       28.    That on or about September 26, 2017, Mr. Michael J. Ling and Mr. Paul Stephen

White discussed the lack of policies regarding compensation and the fact that they may be in

violation of laws governing compensating employees for overtime worked.

       29.    That on or about October 23, 2017 Ms. Bernard, through counsel, sent

correspondence to Mr. Paul Stephen White and Mr. Michael J. Ling, demanding that she be

compensated for past due wages.

       30.    That on or about October 24, 2017, Mr. Paul Stephen White and Mr. Michael J.

Ling received correspondence wherein, Ms. Bernard, through counsel demanded that she be

compensated for past wages due.

       31.    That at the time of the filing of this complaint, Ms. Bernard has not received the

compensation demanded from the Defendants which amount has increased since the demand for

payment was made.

       B. DEFENDANTS RETALIATE AGAINST MS. BERNARD


       32.    That on or about October 24, 2017, Mr. Paul Stephen White and Mr. Michael J.

Ling received correspondence wherein, Ms. Bernard, through counsel objected to her not being

paid equal to Mr. Hendrickson in violation of the Equal Pay Act, 29 U.S.C. § 206(d), the Fair

Labor Standards Act, 29 U.S.C. § 207(a)(1), the Idaho Equal Pay Act, I.C. § 44-1702(1).

       33.    That the correspondence received by Mr. Paul Stephen White and Mr. Michael J.

Ling on October 24, 2017 advised Mr. Paul Stephen White and Mr. Michael J. Ling to not

engage in any adverse employment action against Ms. Bernard as a result of Ms. Bernard’s

demand to be compensated per the applicable laws.

       34.    That Ms. Megan Gibson is a registered paraplanner who works for Berkeley Inc.




COMPLAINT AND DEMAND FOR JURY TRIAL                                                  Page 7 of 18
           Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 8 of 18



       35.     That Ms. Megan Gibson regularly reported variations to her schedule two Ms.

Bernard.

       36.     On October 25, 2017, At the direction of Mr. Paul Stephen White, Ms. Gibson

was to report variations of her schedule to Mr. Stephen White and/or Mr. Michael J Ling rather

that Ms. Bernard, thus relieving Ms. Bernard of her previous supervisory duties in relation to Ms.

Gibson.

       37.     Prior to October 24, 2017, Mr. Paul Stephen White would include Ms. Bernard

and Mr. J. Chris Hendrickson on correspondence involving the joint clients of Ms. Bernard and

Mr. J. Chris Hendrickson.

       38.     As of October 31, 2017, Mr. Paul Stephen White no longer includes Ms. Bernard

in correspondence involving the joint clients of Ms. Bernard and Mr. J. Chris Hendrickson.

       39.     By not being included in correspondence involving the joint clients of Ms.

Bernard and Mr. J. Chris Hendrickson, Ms. Bernard was relieved of her responsibility of tracking

and maintaining adequate client activity logs.

       40.     By not being included in correspondence involving the joint clients of Ms.

Bernard and Mr. J. Chris Hendrickson, Ms. Bernard was relieved of her previous responsibility

of directly providing services to Berkeley Inc. clients as she had done prior to October 24, 2017.

       41.     Prior to October 24, 2017, Mr. Michael J. Ling would notify and provide Ms.

Bernard all updates that pertained to the joint clients of Ms. Bernard and Mr. Michael J. Ling.

       42.     As of November 2, 2017, Mr. Michael J. Ling is no longer notifies and provides

Ms. Bernard with pertinent updates pertaining to the joint clients of Ms. Bernard and Mr.

Michael J Ling.




COMPLAINT AND DEMAND FOR JURY TRIAL                                                   Page 8 of 18
          Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 9 of 18



         43.   Through Mr. Michael J. Ling’s no longer notifying and providing pertinent

information to Ms. Bernard, Ms. Bernard was relieved of her previous responsibility of tracking

and maintaining adequate client activity logs.

         44.   Through Mr. Michael J. Ling’s no longer notifying and providing pertinent

information to Ms. Bernard, Ms. Bernard was relieved of her previous responsibility of directly

providing adequate service to Berkeley clients as she had done prior to October 24, 2017.

         45.   Prior to October 24, 2017, Mr. Paul Stephen White would provide Ms. Bernard

feedback as requested by Ms. Bernard for Ms. Bernard to further discuss directly with the joint

clients of Ms. Bernard, Mr. J Chris Hendrickson, Mr. Michael J Ling, and Mr. Paul Stephen

White.

         46.   As of November 20, 2017, Mr. Paul Stephen White is now providing Ms. Bernard

the feedback Ms. Bernard has requested but notifying Ms. Bernard that he has already

communicated to the joint clients of Ms. Bernard, Mr. J Chris Hendrickson, Mr. Michael J Ling,

and Mr. Paul Stephen White and there is no need for Ms. Bernard to communicate to these

clients of Berkeley Inc.

         47.   Through Mr. Paul Stephen White’s actions, he has reduced the number of client

relationships that Ms. Bernard is responsible for individually and or jointly with Mr. Michael J.

Ling, Mr. J. Chris Hendrickson, and Mr. Paul Stephen White.

         48.   Through Mr. Paul Stephens actions described in paragraph 46 herein, Ms. Bernard

was relieved of her previous responsibility of directly providing adequate service to Berkeley

clients as she had done prior to October 24, 2017.

         49.   Prior to October 24, 2017, Mr. Michael J Ling and/or Mr. Paul Stephen White and

Ms. Bernard would meet with all prospective clients potentially requiring financial planning



COMPLAINT AND DEMAND FOR JURY TRIAL                                                   Page 9 of 18
         Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 10 of 18



services. Mr. Michael J Ling and/or Mr. Paul Stephen White and Ms. Bernard would share joint

responsibility for all new clients seeking services of Berkeley, Inc.

        50.     On or about November 21, 2017, Mr. Michael J Ling and Mr. Paul Stephen White

instructed Ms. Bernard she would not need to participate in a specific client meeting. However,

Mr. Michael J Ling and Mr. Paul Stephen White instructed Ms. Gibson she would be responsible

for all activities related to this client relationship.

        51.     Mr. Michael J Ling has assumed all responsibility for financial planning services

for this specific client as well as others Ms. Bernard would have had responsibility for prior to

October 24, 2017.

        52.     Through Mr. Michael J. Ling’s and Mr. Paul Stephen White’s action Ms. Bernard

was relieved of her previous responsibility of tracking and maintaining adequate client activity

logs and providing financial planning services to Berkeley Inc. clients.

        53.     Prior to October 24, 2017, in a conversation with Ms. Bernard, which occurred on

or about September 25, 2017, Mr. Michael J. Ling reminded Ms. Bernard that he thought of her

as Berkeley Inc.’s “succession plan”.

        54.     That in referring to Ms. Bernard as Berkeley Inc.’s succession plan that Mr.

Michael J. Ling saw Berkeley Inc.’s continuation as a business entity at a future date through

Ms. Bernard.

        55.     Prior to October 24, 2017, Mr. Michael J. Ling in keeping with having Ms.

Bernard be Berkeley Inc.’s succession plan included in and or provided Ms. Bernard with regular

updates in regard to all activities pertaining to Berkeley Inc. and her role as the successor.

        56.     That on or about November 22, 2017, Mr. Michael J. Ling no longer treated Ms.

Bernard as someone who would serve as successor to the owners of Berkeley Inc.



COMPLAINT AND DEMAND FOR JURY TRIAL                                                    Page 10 of 18
         Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 11 of 18



        57.     That on or about November 22, 2017, Mr. Michael J. Ling began restricting the

number of client meetings that Ms. Bernard would attend.

        58.     That on or about November 22, 2017, Mr. Michael J. Ling began to exclude Ms.

Bernard from meetings with and receiving correspondence from potential vendors and or service

providers

        59.     That on or about November 22, 2017, Mr. Michael J. Ling, no longer consulted

with Ms. Bernard about decisions that would affect Berkeley Inc. at present and in the future.

        60.     That on or about November 22, 2017, Mr. Michael J. Ling, no longer included

Ms. Bernard in Mr. Michael J. Ling’s review of key compliance document that directly affected

Berkeley Inc.

        61.     Through Michael J. Ling’s no longer considering Ms. Bernard as the successor to

the owners of Berkeley Inc. Ms. Bernard was relieved of her previous responsibility of taking

action to ensure the viability of Berkeley Inc. in real time and in the future.

        62.     Through Michael J. Ling’s no longer considering Ms. Bernard as the successor to

the owners of Berkeley Inc. Ms. Bernard’s future earning capacity with Berkeley Inc. was

significantly reduced.

        63.     Prior to October 24, 2017, Mr. J Chris Hendrickson and Ms. Bernard would meet

with all prospective internet leads jointly. Mr. J Chris Hendrickson and Ms. Bernard would share

joint responsibility for all clients obtained via the internet.

        64.     That on or about November 27, 2017, Mr. Michael J. Ling removed Ms. Bernard

of her responsibility of meeting internet leads with Mr. J. Chris Hendrickson. Mr. Michael J.

Ling gave specific instructions to Mr. J. Chris Hendrickson that Ms. Bernard was not to

participate in a specific internet lead client meeting. Mr. Michael J Ling further instructed Ms.



COMPLAINT AND DEMAND FOR JURY TRIAL                                                   Page 11 of 18
         Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 12 of 18



Bernard she would later be notified by Mr. Michael J Ling or Mr. J Chris Hendrickson if her

participation in subsequent interactions with internet leads would be needed and would be

requested on a case by case basis

        65.     That the action of by Mr. Michael J. Ling relieving Ms. Bernard of her

responsibility of jointly meeting with internet clients from beginning to end prevented Ms.

Bernard from establishing new client relationships.

        66.     That the action of by Mr. Michael J. Ling of relieving Ms. Bernard of her

responsibility of jointly meeting with internet clients prevented Ms. Bernard from increasing her

number of client relationships.

        67.     Through Mr. Michael J. Ling’s action, Ms. Bernard was relieved of her previous

responsibility of tracking and maintaining adequate client activity logs and participating in all

aspects of providing financial planning services for Berkeley Inc. clients.

        68.     Prior to October 24, 2017, Ms. Bernard had no restrictions on what she was

permitted to discuss with her clients and the joint clients of Berkeley, Inc.

        69.     On or about December 12, 2017, Mr. Michael J. Ling imposed restrictions as to

what Ms. Bernard was to discuss with clients thus lessening Ms. Bernard’s responsibility and

authority to provide direct service to clients of Berkeley Inc.



                                  IV. STATEMENT OF CLAIM

                                           COUNT ONE

       (Violation of the Equal Pay Act - 29 U.S.C. § 206(d), the Equal Pay Act of 1963)


        70.     Ms. Bernard incorporates and re-alleges paragraphs 1-69 as this paragraph 70 of

this Count 1.

 COMPLAINT AND DEMAND FOR JURY TRIAL                                                  Page 12 of 18
            Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 13 of 18



           71.     By paying Ms. Bernard compensation less than a male employee for substantially

equal work on a job requiring substantially equal skill, effort responsibility under similar working

conditions and where Ms. Bernard had additional duties that shared with the male employee, the

Defendants violated the Equal Pay Act (“EPA”).

           72.     As a result of Defendant’s paying Ms. Bernard less than it paid the subject male

employee Mr. Hendrickson, Ms. Bernard has suffered and will continue to suffer economic

losses.

           73.     As a result of the Defendant’s EPA violation, Ms. Bernard is entitled to recover

the amount of wages she would have been paid in the absence of the violation, an equal amount as

liquidated damages, and prejudgment interest on those amounts; see 29 U.S.C.§ 216(b). 3

           74.     As a result of the Defendant’s EPA violation, Ms. Bernard is entitled to recover

her attorney fees and costs incurred in pursing this matter.

                                              COUNT TWO

                  (Violation of the Fair Labor Standards Act - 29 U.S.C. § 207(a)(1))


            75.    Ms. Bernard incorporates and re-alleges paragraphs 1-74 as this paragraph 75 of

 this Count 2.

 3
     29 U.S.C. § 216(b) reads in part as follows:

           Any employer who violates the provisions of section 206 or section 207 of this title shall
           be liable to the employee or employees affected in the amount of their unpaid minimum
           wages, or their unpaid overtime compensation, as the case may be, and in an additional
           equal amount as liquidated damages. Any employer who violates the provisions
           of section 215(a)(3) of this title shall be liable for such legal or equitable relief as may be
           appropriate to effectuate the purposes of section 215(a)(3) of this title, including without
           limitation employment, reinstatement, promotion, and the payment of wages lost and an
           additional equal amount as liquidated damages… The court in such action shall, in
           addition to any judgment awarded to the plaintiff or plaintiffs, allow a reasonable
           attorney's fee to be paid by the defendant, and costs of the action.


 COMPLAINT AND DEMAND FOR JURY TRIAL                                                        Page 13 of 18
           Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 14 of 18



          76.    By failing to pay Ms. Bernard compensation for the overtime hours worked, the

Defendants violated the Fair Labor Standards Act (“FLSA”) Maximum Hours regulation 29

U.S.C. 29 U.S.C. § 207(a)(1).

          77.    As a result of Defendant’s failure to pay Ms. Bernard for the overtime hours in

violation of the FLSA that she worked Ms. Bernard has suffered and will continue to suffer

economic losses.

          78.    As a result of the Defendant’s failure to pay Ms. Bernard for the overtime hours

 she worked in violation of the FLSA, Ms. Bernard is entitled to recover the amount of overtime

 wages she would have been paid in the absence of the violation, an equal amount as liquidated

 damages, and prejudgment interest on those amounts; see 29 U.S.C.§ 216(b).

                                         COUNT THREE

                   (Violation of The Idaho Equal Pay Act - I.C. § 44-1702(1))


          79.    Ms. Bernard incorporates and re-alleges paragraphs 1-78 as this paragraph 79 of

 this Count 3.

          80.    By paying Ms. Bernard compensation less than a male employee for substantially

equal work on a job requiring substantially equal skill, effort responsibility under similar working

conditions and where Ms. Bernard had additional duties that shared with the male employee, the

Defendants violated the Idaho Equal Pay Act (“IEPA”).

          81.    As a result of Defendant’s paying Ms. Bernard less than it paid the subject male

employee Mr. Hendrickson, Ms. Bernard has suffered and will continue to suffer economic

losses.

          82.    As a result of the Defendant’s IEPA violation, Ms. Bernard is entitled to recover

the amount of wages she would have been paid in the absence of the violation, an equal amount as

 COMPLAINT AND DEMAND FOR JURY TRIAL                                                  Page 14 of 18
             Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 15 of 18



liquidated damages, and prejudgment interest on those amounts; see I.C. §§ 44-1704(1) and 44-

1704(5). 4

           83.      As a result of the Defendant’s IEPA violation, Ms. Bernard is entitled to recover

her attorney fees and costs incurred in pursing this matter; see I.C. § 44-1704(2). 5

                                             COUNT FOUR

                      (Violation of The Idaho Wage Claim Act - I.C. § 45-615(1))


           84.      Ms. Bernard incorporates and re-alleges paragraphs 1-83 as this paragraph 84 of

    this Count 4.

           85.      On October 23, 2017 Ms. Bernard made a written demand to the Defendants for

    all wages owed to her; and upon information and believe the Defendant’s received the written

    demand on October 24, 2017.

           86.      As of the filing of this complaint Ms. Bernard has not been paid the wages

    requested and due to her.




4
 I.C. § 44-1704(1) reads as follows: Any employer who violates the provisions of section 44-
1702, Idaho Code, shall be liable to the employee or employees affected in the amount of their
unpaid wages, and in instances of willful violation in employee suits under subsection (2) of this
section, up to an additional equal amount as liquidated damages.

I.C. § 44-1704(5) reads as follows: In proceedings under this section, the court may order other
affirmative action as appropriate, including reinstatement of employees discharged in violation of
this act.
    5
     I.C. § 44-1704(2) reads as follows: Action to recover such liability may be maintained in any
    court of competent jurisdiction by any one or more employees for and in behalf of himself or
    themselves and other employees similarly situated. The court in such action shall, in cases of
    violation in addition to any judgment awarded to the plaintiff or plaintiffs, allow a reasonable
    attorney's fee to be paid by the defendant, and costs of the action.

    COMPLAINT AND DEMAND FOR JURY TRIAL                                                  Page 15 of 18
         Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 16 of 18



       87.      At the time of the filing of this complaint, Ms. Bernard demanded that she be

compensated in the amount of one hundred sixty-six thousand, eight hundred ninety-four dollars

and sixty-one cents ($166,894.61).

       88.      Pursuant to I.C. § 45-615(2), Ms. Bernard is presently entitled to damages in an

amount equal to three (3) times the amount of wages calculated as five hundred thousand, six

hundred eighty-three dollars and eighty-three cents ($500,683.83). This figure will change

depending on the date the jury delivers its verdict and the verdict is in favor of Ms. Bernard’s

complaint.

                                          COUNT FIVE

     (Retaliation in Violation of the Fair Labor Standards Act 29 U.S.C. § 215(a)(3) 6)

       89.      Ms. Bernard incorporates and re-alleges paragraphs 1-88 as this paragraph 89 of

this Count 5.

       90.      To establish a prima facie case of retaliation, the Ninth Circuit Court of Appeals

has held that a Plaintiff must establish that Plaintiff was (1) engaged in a protected activity, (2)

suffered an adverse employment action, and (3) establish that there was a causal link between the

protected activity and adverse employment action. E.E.O.C. v. Luce, Forward, Hamilton &

Scripps, 303 F.3d 994, 1004 -1005 (C.A.9 (Cal.), 2002), Patterson v. State, Dept. of Health &

Welfare, 151 Idaho 310, 318, 256 P.3d 718, 726 (Idaho, 2011).


6
 The Equal Pay Act, 29 U.S.C. §206(d) is a part of the Fair Labor Standards Act. Section
215(a)(3) reads in part that it shall be unlawful to:

       “...to discharge or in any other manner discriminate against any employee because such
       employee has filed any complaint or instituted or caused to be instituted any proceeding
       under or related to this chapter, or has testified or is about to testify in any such
       proceeding, or has served or is about to serve on an industry committee;” (Emphasis
       added).



COMPLAINT AND DEMAND FOR JURY TRIAL                                                   Page 16 of 18
            Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 17 of 18



           91.    From the facts contained/stated in this complaint, 7 it has been established herein,

 that but for Ms. Bernard’s engaging and participating in the protected activity of seeking to be

 compensated as allowed by 29 U.S.C. § 206(d)(1), and objecting to her being compensated in

 alleged violation of 29 U.S.C.§ 206(d)(1), to the Defendant’s Mr. Michael J. Ling and Mr. Paul

 Stephen White, Ms. Bernard would not have suffered the adverse employment actions in her

 employment with Respondent. 8

           92.    The very close proximity in time of the protected act, vis-à-vis Ms. Bernard being

 subjected to the delineated adverse acts, establish the requisite, and in this instance the

 undeniable strong causal link.

                                    V. DEMAND FOR JURY TRIAL


           93.    Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands

a trial by jury in this action.


                                       PRAYER FOR RELIEF




 7
     See ¶¶ 32-69 herein.
 8
   Instruction 10.9 of the Model Jury Instructions for the District Courts of the Ninth Circuit
 reads in part as follows:

           …an adverse action in the context of a retaliation claim need not materially affect the
           terms and conditions of employment so long as a reasonable employee would have
           found the action materially adverse, which means it might have “dissuaded a
           reasonable worker from making or supporting a charge of discrimination.” See
           Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 68 (2006); see also Thompson v.
           N. Am. Stainless, LP, 562 U.S. 170 (2011) (applying Burlington standard). (Emphasis
           added.)




 COMPLAINT AND DEMAND FOR JURY TRIAL                                                     Page 17 of 18
Case 1:18-cv-00039-BLW Document 1 Filed 01/28/18 Page 18 of 18
